Case 2:19-cv-00418-NT Document 201 Filed 03/17/23 Page 1 of 3           PageID #: 2751




                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

 TERESA KLINGES,                             )
                                             )
                       Plaintiff,            )
                                             )
 v.                                          ) Docket No. 2:19-cv-00418-NT
                                             )
 KEVIN POMERLEAU, et al.,                    )
                                             )
                       Defendants.           )


 ORDER ON JOINT MOTION TO DISMISS BERGEN & PARKINSON, LLC

         WHEREAS, Plaintiff Teresa Klinges and Defendant Bergen & Parkinson, LLC

(“B&P”) have entered into an agreement to settle the Plaintiff’s claims against B&P;

         WHEREAS, as part of that settlement agreement, the Plaintiff and B&P desire

to enter into a Pierringer release, as provided for in 14 M.R.S. §§ 156, 163;

         WHEREAS, the Plaintiff agrees to not seek to recover from any remaining

party any damages, in whole or in part, attributable to B&P’s share of responsibility

for the Plaintiff’s damages, if any;

         WHEREAS, upon consideration of the joint motion to dismiss B&P with

prejudice and without costs, filed by the Plaintiff and B&P, together with any

responses thereto, and the entire record appearing before this Court, it is hereby

ORDERED, as follows:

      1. The Joint Motion to Dismiss B&P (ECF No. 199) is GRANTED.

      2. At trial, evidence of the settlement between the Plaintiff and B&P shall not be

         admissible against any remaining party.
Case 2:19-cv-00418-NT Document 201 Filed 03/17/23 Page 2 of 3           PageID #: 2752




   3. The Plaintiff shall not be permitted to collect from any remaining party any

      damages attributable to B&P’s share of responsibility, if any.

   4. As provided by 14 M.R.S. § 156, B&P is entitled to be dismissed with prejudice,

      and all related claims for contribution that may be asserted against B&P by

      any remaining parties to this lawsuit are barred.

   5. The ability of any remaining party to have the liability of B&P adjudicated, if

      any such liability exists, is preserved. The following shall apply:

            a. As provided in 14 M.R.S. § 156, any remaining Defendant has the

                right through the use of special interrogatories to request the jury to

                determine the percentage of fault contributed by each Defendant, if

                any, including B&P.

            b. As provided in 14 M.R.S. § 156, any remaining party may conduct

                discovery against B&P and invoke evidentiary rules at trial as if B&P

                were still a party.

            c. As provided in 14 M.R.S. § 156, in apportioning responsibility for

                claims that are the subject of the settlement agreement between the

                Plaintiff and B&P and are presented at trial, a finding on the issue

                of B&P’s liability binds all parties to this suit, but such a finding

                shall have no binding effect in other actions relating to any other

                damages claims.

            d. As provided in 14 M.R.S. § 163, the Court shall reduce any judgment

                obtained by the Plaintiff by either the amount determined at trial to




                                          2
Case 2:19-cv-00418-NT Document 201 Filed 03/17/23 Page 3 of 3        PageID #: 2753




               be attributable to B&P’s share of responsibility, if any was found, or

               if no such finding is made, then by the value of the consideration

               given to the Plaintiff by B&P for the settlement.

   6. No costs are assessed against B&P.



SO ORDERED.

                                             /s/ Nancy Torresen
                                             United States District Judge

Dated this 17th day of March, 2023.




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